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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

ST. PAUL FIRE AND MARINE
INSURANCE CO., et al.,
            Plaintiffs,
v.                                                            CV No. 20-79 WJ/CG

SEDONA CONTRACTING, INC., et al.,
           Defendants,
__________________________

MOSAIC POTASH CARLSBAD, INC.,
          Third-Party Plaintiff,
v.

ROCKCLIFF OPERATING NEW MEXICO, LLC.
           Third-Party Defendant,
__________________________

MOSAIC POTASH CARLSBAD, INC.,
          Cross-Claimant,
v.

SEDONA CONTRACTING, INC.,
                   Cross-Defendant.

                 ORDER GRANTING IN PART AND DENYING IN PART
                        PLAINTIFF’S RULE 56(d) MOTION

      THIS MATTER is before the Court on Plaintiff St. Paul Fire and Marine Insurance

Company’s Motion Pursuant to Federal Rule 56(d) to Stay Response to Sedona’s Motion

for Summary Judgment, (the "Motion"), (Doc. 57), filed September 11, 2020; Defendant

Sedona’s Response to Plaintiff’s Motion Pursuant to Federal Rule 56(d) to Stay Response

to Sedona’s Motion for Summary Judgment (the “Response”), (Doc. 59), filed September

25, 2020; and Plaintiff St. Paul Fire and Marine Insurance Company’s Reply in Support of

Plaintiff’s Motion Pursuant to Federal Rule 56(d) to Stay Response to Sedona’s Motion for

Summary Judgment, or Deny Sedona’s Motion for Summary Judgment (the “Reply”), (Doc.

62), filed October 8, 2020. The Court, having considered the Motion, the briefing of the
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parties, and the remarks of counsel at a telephonic hearing held on October 15, 2020,

finds that the Motion shall be GRANTED IN PART and DENIED IN PART.

        IT IS THEREFORE ORDERED that Plaintiff St. Paul Fire and Marine Insurance

Company’s Motion Pursuant to Federal Rule 56(d) to Stay Response to Sedona’s Motion

for Summary Judgment, (Doc. 57), is GRANTED IN PART and DENIED IN PART as

follows:

        1. Plaintiff St. Paul Fire and Marine Insurance Company’s request for limited

            discovery pursuant to Fed. R. Civ. P. 56(d) is GRANTED;

        2. Plaintiff St. Paul Fire and Marine Insurance Company’s request to depose

            witnesses Javier Nolasco, Sarah Gonzales, Scott Goodale, Steven Daugherty,

            and John Anderson is MOOT based on the parties’ representations at the

            October 15, 2020 hearing that these witnesses have been deposed;

        3. Plaintiff St. Paul Fire and Marine Insurance Company’s request to depose each

            of the four remaining witnesses Manny Guardiola, Raul Barragan, Javier Aguilar,

            and Catherine Sloan is DENIED. Plaintiff may depose only two of these four

            witnesses. Plaintiff shall depose these two individuals by Friday, November 6,

            2020.

        IT IS FURTHER ORDERED that Plaintiff St. Paul Fire and Marine Insurance

Company’s response to Defendant Sedona Enterprises, Inc. Motion for Summary

Judgment Against Plaintiff on Count 1 (Negligence) and Based on Lack of Subject Matter

Jurisdiction, (Doc. 49), is due by Tuesday, November 20, 2020. Defendant Sedona

Contracting, Inc. may file a reply to their motion for summary judgment by December 3,

2020.




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    IT IS SO ORDERED.

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                                THE HONORABLE CARMEN E. GARZA
                                CHIEF UNITED STATES MAGISTRATE JUDGE




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